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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                   Case Nos.:   3:11cr105/RV/EMT
                                                                   3:14cv319/RV/EMT
GABINO ORTIZ, JR.,
      Reg. No. 21236-017
____________________________/
                                            ORDER
         This cause comes on for consideration upon the chief magistrate judge’s Report and
Recommendation dated December 12, 2014 (doc. 128). Defendant Gabino Ortiz, Jr., has been
furnished a copy of the Report and Recommendation and have been afforded an opportunity to file
objections pursuant to Title 28, United States Code, Section 636(b)(1). No objections have been
filed.
         Having considered the Report and Recommendation, I have determined that the Report and
Recommendation should be adopted.
         Accordingly, it is now ORDERED as follows:
         1.     The chief magistrate judge’s Report and Recommendation is adopted and
incorporated by reference in this order.
         2.     This case is DISMISSED without prejudice due to Defendant, GABINO ORTIZ,
JR.’s failure to comply with an order of the court.
         DONE AND ORDERED this 14th day of January, 2015.



                                              /s/ Roger Vinson
                                              ROGER VINSON
                                              SENIOR UNITED STATES DISTRICT JUDGE
